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To Whom It May Concern: 8 August 2017

Re: Jean-Leonard Teganya

| am writing this letter to discuss Jean-Leonard's peaceful and law abiding nature. | met Mr. Jean-
Leonard for the first time back in 1991 when we were both high school seniors. We were both in
Mburabuturo, Kigali where we had come to compete at an "Excellency Exam" in which top high
school seniors across the country came to take an exam where the fop 10 students in the country
would ear a scholarship to attend universities in Europe or North America. When | met Jean-
Leonard, | was impressed by his intellect, great personality, sense of humor and his ability to get
along well with people from various backgrounds. We stayed at the testing center for one week,
and by the time we left Mburabuturo, we had become close friends.

At the end of our senior years, although we were not chosen among the top 10 students in the
nation, we were close enough to earn scholarships to attend the National University of Rwanda at
the Butare Campus where we both attended Pre-medical studies. In addition to being
classmates, Jean-Leonard and | became roommates. This allowed us to study together, share
the meals together, go out together. As I result of this close friendship, | came to know Jean-
Leonard very well.

During the 3 years that I spent with Jean-Leonard in Butare, he was a good role model for me as
he studied hard and was very sociable with everybody. We shared several friends, both Tutsi
and Hutu and he was best known to get along well with everybody. Jean-Leonard disliked politics
and didn't get involved in politics. His main focus was to study hard so that one day he can
become a surgeon which was his childhood dream.

We both fled Rwanda in 1994 due to the dangerous conditions that were in the couniry. | was
fortunate to find an asylum in the US in 1995. We lost contact of each other for quite a long time
until a friend of mine informed me that Jean-Leonard was living in Canada. | managed to get his
telephone number and we got in touch again. At that time, Jean-Leonard was preparing to get
married and start a family. | stayed in touch with Jean-Leonard ever since.

i know Jean-Leonard as a great family man, a loving father of two sons. | know him as a
peaceful, law-abiding person and hard worker. There is a saying that “bad things happen fo good
people.” This is really true in case of Jean-Leonard. He is an innocent man who is being
subjected to character assassination.

When he was in Butare during the civil war in Rwanda, he was busy caring for the sick at a
university hospital as a medical student. He should be applauded for that rather than accusing
him of being part of criminals, which he never was and totally goes against his nature. | know this
because he was my classmate and roommate until we got separated by war in Rwanda.
However, | believe in the American legal system to be truly independent and remain hopeful that
the court will ultimately find out that Jean-Leonard is a good man who deserves to be free and
allowed to pursue his dreams and take care of his family.

Sincerely, -

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